


  ORDER
 

  Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
 

  IT IS ORDERED that respondent, Paul J. McMahon, III, Louisiana Bar Roll number 14209, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court.
 

  IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
 

  Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately-
 

  /s/ Bernette J. Johnson
 

  Justice, Supreme Court of Louisiana
 

  CLARK, J.,
 

  votes to deny the petition for interim suspension for threat of harm and would instead order respondent to show cause, before a hearing committee panel appointed by the board, why the court should not issue an immediate interim suspension.
 
